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                             No. 22-3765
                         __________________

          IN THE UNITED STATES COURT OF APPEALS
                   FOR THE SIXTH CIRCUIT
                      ________________

                       KEVIN D. HARDWICK,

                                        Plaintiff-Appellee,
                                   v.

3M COMPANY; E. I. DU PONT DE NEMOURS AND COMPANY; THE
   CHEMOURS COMPANY; ARCHROMA MANAGEMENT LLC;
   ARKEMA, INC.; ARKEMA FRANCE, S.A.; AGC CHEMICALS
 AMERICAS, INC.; DAIKIN INDUSTRIES LTD.; DAIKIN AMERICA,
     INC.; SOLVAY SPECIALTY POLYMERS, USA, LLC,

                                     Defendants-Appellants.
                         __________________

    Appeal from U.S. District Court for the Southern District of Ohio
        The Honorable Edmund A. Sargus, No. 2:18-cv-1185
                        __________________

       OPENING BRIEF OF DEFENDANTS-APPELLANTS
                   __________________
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                  CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Sixth Circuit Rule

26.1, counsel states as follows:

      1. 3M Company is a publicly held company. It has no parent corporation.

And no publicly held corporation owns 10% or more of its stock. 3M Company is

unaware of any publicly held company or affiliate of a publicly held company, not

a party to this case, that has a substantial financial interest in the outcome of the case.

      2. AGC Chemicals Americas, Inc. is a non-governmental corporate party and

is a subsidiary of AGC America, Inc. AGC America, Inc. is a subsidiary of AGC

Inc., a publicly traded corporation. AGC Chemicals Americas, Inc. is unaware of

any other publicly held company or affiliate of a publicly held company that has a

substantial financial interest in the outcome of the case.

       3. Archroma Management LLC is not a publicly owned corporation. The sole

shareholder of Archroma Management LLC is Archroma Operations S.á.r.l. There

is no publicly held corporation owning 10% or more of its stock. Archroma

Management LLC is unaware of a publicly owned corporation, not a party to this

appeal, that has a substantial financial interest in the outcome of the case.

       4. Arkema France is a wholly-owned subsidiary of Arkema, S.A., a publicly

traded French company.




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      5. Arkema Inc. is a wholly-owned subsidiary of Arkema Delaware, Inc.

There are no publicly held companies that own 10% or more of the stock of Arkema

Inc. Arkema Inc. is indirectly owned by Arkema, S.A., a French public company.

      6. The Chemours Company is a publicly held company. More than 10% of

Chemours' stock is held by BlackRock Fund Advisors, which upon information and

belief is a wholly-owned subsidiary of BlackRock Inc., a publicly held corporation.

      7. Daikin America, Inc. is a nongovernmental corporate party incorporated in

Delaware and is an indirect subsidiary of Daikin Industries, Ltd., a public company

headquartered in Osaka, Japan and listed on the Tokyo Stock Exchange.

      8. Daikin Industries, Ltd. is a nongovernmental corporate party headquartered

in Osaka, Japan and listed on the Tokyo Stock Exchange.

      9. E. I. du Pont de Nemours and Company (“EID”) is a nongovernmental

corporate party. EID is a subsidiary of Corteva, Inc. Corteva, Inc. is a publicly

traded company owning 10% or more of EID’s stock. EID is unaware of any publicly

owned corporation other than Corteva, Inc., and any other publicly owned parent

corporation identified by the parties to this appeal that has a financial stake in the

appeal.

      10. Solvay Specialty Polymers USA, LLC is a nongovernmental corporate

party and is a wholly-owned subsidiary of Ausimont Industries, Inc.           Solvay

Specialty Polymers USA, LLC is indirectly owned by Solvay S.A., a company that


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is publicly traded in Europe. Solvac S.A. owns approximately 30% of Solvay S.A.

and is also publicly traded in Europe. Solvay Specialty Polymers USA, LLC is not

aware of any other parent corporation or publicly held corporation that owns 10% or

more of its membership interests. Solvay Specialty Polymers USA, LLC is unaware

of any publicly owned corporation—other than Solvac S.A., Solvay S.A., and any

other parent corporation identified by the parties to this appeal—that has a financial

stake in the appeal.




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            STATEMENT IN SUPPORT OF ORAL ARGUMENT

      This Court granted interlocutory review in this case under Rule 23(f). In re

3M Co., No. 22-0305, 2022 WL 4149090 (6th Cir. Sept. 9, 2022) (Guy, Donald,

Bush, JJ.). The district court’s certification of a class of almost 12 million people—

nearly all individuals in Ohio and then some—presents “‘novel’ and ‘unsettled’

issue[s]” “with important implications.” Id. at *8. To fully explore those issues in

this significant case, Defendants respectfully request oral argument.




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                                INTRODUCTION

      This Court has before it “one of the largest class actions in history, predicated

on a questionable theory of standing and a refusal to apply a cohesion requirement

endorsed by seven courts of appeals,” pursuing “an ill-defined remedy that sits

uneasily with traditional constraints on the equity power and threatens massive

liability.” In re 3M Co., No. 22-0305, 2022 WL 4149090, at *10 (6th Cir. Sept. 9,

2022).   The district court’s class-certification decision expands federal court

jurisdiction and Rule 23 far beyond their breaking points, in several ways:

         • The class is “extraordinary” and includes “nearly all 11.8 million

             residents of Ohio, along with anyone else otherwise subject to its laws.”

             Id. at *1-2.

         • The single named Plaintiff, Kevin Hardwick, does not allege any

             present or imminent injury, let alone one connected to any Defendant.

             Rather, Hardwick admits that he does not know whether he is injured

             or whether any Defendant would be responsible for any injury he might

             have.

         • Hardwick seeks unprecedented equitable relief. See id. at *10. He

             wants an “injunction” ordering Defendants to pay for a “Science Panel”

             that would conduct unspecified studies on the approximately 5,000

             different substances falling under the umbrella term “per- and



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   polyfluoroalkyl substances,” better known as “PFAS.” The Science

   Panel would ultimately issue unspecified findings on whether class

   members might be at risk of injury from any of those substances, which

   supposedly would be binding on the ten Defendants and nearly all

   Ohioans (and all others “subject to Ohio law”).

• The thousands of different PFAS at issue in this class action, found in

   everything from building materials to medical devices, each have

   unique physical properties and highly disparate uses.

• The millions of class members have fundamentally different claims

   because they were exposed to different PFAS in different amounts, at

   different times, from different sources, creating different potential risks,

   if any, based on their different demographic and health backgrounds.

• The alleged conduct of the ten Defendant companies (selected from the

   many thousands of companies that have made or sold PFAS over the

   years) is just as varied. At different times and in different places, each

   Defendant allegedly took one or more different and separate actions

   relating to different PFAS: They allegedly “marketed, developed,

   manufactured, distributed, sold, released, trained users on, produced

   instructional materials, and/or otherwise handled and/or used PFAS

   materials.” Compl., R.96, PageID#567.


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      Unsurprisingly, settled legal principles preclude the unprecedented Science

Panel class action certified by the district court. For one thing, Article III does not

grant standing to a plaintiff who sues to “determine whether he [is injured],” cannot

trace any injury to a particular Defendant, and pursues relief that would not redress

any real injury. 3M, 2022 WL 4149090, at *6. For another, Rule 23 does not permit

a no-opt-out class action on behalf of millions of diverse individuals who lack any

cohesion, seek no viable injunctive remedy, and would be impossible to identify.

      As the motions panel forcefully suggested in a nineteen-page opinion

explaining its decision to grant Rule 23(f) review, the district court’s orders on these

subjects violate established Article III and Rule 23 principles. Id. at *3 (Guy, Donald,

Bush, JJ.). The unprecedented class authorized by the district court goes well

beyond anything a federal court could ever permit. It would trample basic tenets of

federal standing, injunction, and class-action law to establish a proceeding that

would effectively operate as a quasi-regulatory program of research and potential

monitoring far outside the bounds of a Case or Controversy seeking traditional relief

for concrete injuries on behalf of a cohesive class. If allowed to stand, the district

court’s ruling could open the floodgates to any number of copycat suits on behalf of

enormous putative classes seeking “injunctions” (really, funding) to study any

product or substance alleged to be a possible cause of any potential injury, however

abstract or generalized.


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      This Court should accordingly reverse the district court’s certification of

Hardwick’s novel and sprawling class and order dismissal for lack of jurisdiction.

                       STATEMENT OF JURISDICTION
      Plaintiff claimed federal subject-matter jurisdiction under 28 U.S.C. §§ 1332,

2201-02. Compl., R.96, PageID#562. But the district court lacked subject-matter

jurisdiction for the reasons explained in Section I below.

      The district court certified a class on March 7, 2022. See Order, R.233,

PageID#6663-6711. “Defendants timely petitioned this court for permission to

appeal the certification decision under Civil Rule 23(f).” 3M, 2022 WL 4149090, at

*2. The Court granted that petition. Id. at *10.

      This Court has “jurisdiction under Civil Rule 23(f) and 28 U.S.C. § 1292(e)”

to review both jurisdiction and the propriety of class certification. Id. at *3.




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                            STATEMENT OF ISSUES

      1.     Whether a plaintiff has Article III standing to obtain prospective

injunctive relief relating to exposure to substances when he (a) has no evidence that

he is at any risk of future injury from the exposure; (b) admits he has “no idea” who

is responsible for his exposure; and (c) requests as relief a court-appointed panel of

experts to study whether exposure at any level might lead to any future injury.

      2.     Whether a class satisfies Rule 23(b)(2) when it lacks cohesion

comparable to the common-issue predominance required by Rule 23(b)(3) (and even

the commonality required by Rule 23(a)(2)); when the plaintiff does not seek

injunctive relief that a federal court could actually award; and when the plaintiff

provides no specifics about the proposed injunction.

      3.     Whether a district court may certify a class using a class definition that

makes it functionally impossible to identify class members.




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                           STATEMENT OF THE CASE

      Plaintiff sued “hoping to certify a nationwide class of every individual in the

United States with PFAS in his or her blood—a class of nearly the entire nation.”

3M, 2022 WL 4149090, at *1. The district court ultimately certified a class of “every

individual ‘subject to the laws of Ohio’ whose blood contains 0.05 parts per trillion

of PFAS—an amount undetectable with current technology.” Id. On behalf of the

more than 11 million class members, Plaintiff wants a remedy never before

“accorded by courts of equity”: an “order[] [for] defendants to fund a ‘science panel’

to study the effects of PFAS—whether and to what extent [they] may increase the

risk of disease—and [depending on the findings] potentially to provide medical

monitoring for every member of the class.” Id. at *1, *5 n.3.

      A.     The Term “PFAS” Encompasses Thousands Of Substances That
             Have Been And Remain Essential In Countless Products And Uses.

      The term “PFAS comprises a huge family of chemicals”—“about 5,000

different compounds that contain bonds between carbon and fluorine atoms.” Id. at

*1, *6; see Reitman Rep., R.200-4, PageID#5314-18.                These thousands of

substances vary dramatically as a scientific matter because they each have different

chemical compositions, which give them different properties. Reitman Rep., R.200-

4, PageID#5314-18.       For instance, different PFAS have radically different

elimination rates (how quickly natural processes remove them from blood)—with

half-lives ranging from less than an hour for some, to years for others. Beck Rep.,


                                          6
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R.200-2, PageID#5184-87. They also have different distributions (where they move

within the body). Id., PageID#5181-83. These differences, among many others, are

why the experts in this case uniformly explained that, from a scientific standpoint,

grouping and studying all 5,000 or so PFAS together makes no sense. See, e.g.,

Alexander Rep., R.200-1, PageID#4999-5000; Beck Rep., R.200-2, PageID#5180-

88; Reitman Rep., R.200-4, PageID#5314-18.

      The uses and sources of PFAS also vary dramatically. They have been used

in many different ways for over 70 years, including in a wide variety of products.

3M, 2022 WL 4149090, at *1. 1 “[T]housands of companies make or once made

thousands of products using PFAS—including medical devices, pharmaceuticals,

food packaging, building materials, automotive parts, water-repellent clothing, and

a profusion of other goods.” Id. The ten Defendants thus do not account for

anywhere close to all the PFAS or PFAS-containing products made or sold in the

United States, or in Ohio. Reitman Rep., R.200-4, PageID#5322-23. Moreover,

different Defendants made, sold, or used different products at different times and in




      1
         See, e.g., Beck Rep., R.200-2, PageID#5163-66; Reitman Rep., R.200-4,
PageID#5319-21; see also NIH, Per- and Polyfluoroalkyl Substances (PFAS),
https://ntp.niehs.nih.gov/whatwestudy/topics/pfas/index.html (discussing the ability
of certain PFAS to reduce friction, making them useful in a variety of industries such
as aerospace, construction, electronics, and automotive).

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different places. Id. And there are many kinds of PFAS that none of the Defendants

in this litigation makes or sells. Id.

      Understandably, then, exposure to PFAS might occur through a “litany of

possible pathways.” 3M, 2022 WL 4149090, at *6. One person outside of Cleveland

might claim to have come in contact with one type of one Defendant’s PFAS

through, for example, ski wax made and sold by a third party. Another person in

southern Ohio might claim to have used personal-care products with a different kind

of PFAS that no Defendant manufactures (and is instead made in China). A person

residing elsewhere in the State might have ingested drinking water containing yet

another type of PFAS discharged from a nearby facility making coated fabrics. Or

a firefighter might have worked with aqueous film forming foam (“AFFF”)—a kind

of PFAS-containing foam used to extinguish certain hard-to-control fires—as

Plaintiff did here. And those are but a few examples of thousands of possibilities,

as Defendants’ experts illustrated in an unrebutted account of potential exposure

pathways. See, e.g., Beck Rep., R. 200-2, PageID#5161-62.

      Given the prevalence and number of different PFAS, it is not surprising that

Plaintiff alleges that 99% of Americans, some 330 million people, have some

amount of some kind of PFAS in their blood.              Class-Cert. Mot., R.164,

PageID#1530.




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      B.     Plaintiff Groups All PFAS Together And Sues Because Of Fear Of
             Their Unknown Effects.

      Plaintiff Kevin Hardwick has trace amounts of five kinds of PFAS in his

blood. See Opposition, R.200, PageID#4769-77. But he has “no idea” which

Defendant (if any) exposed him to these five PFAS. Hardwick Dep., R.200-6,

PageID#5418-19. Hardwick does, however, allege that he came into contact with

PFAS while using fire-fighting foams and fire-fighting gear supposedly containing

certain PFAS. Compl., R.96, PageID#562.

      Hardwick served as a firefighter for over 40 years, including for many years

at the Cincinnati/Northern Kentucky International Airport. There he would train

weekly with PFAS-containing foam, sometimes getting “covered” in it. Hardwick

Dep., R.200-6, PageID#5440-41. And Hardwick would wear firefighter gear, which

he alleges is made with PFAS. Id., PageID#5445-46. Hardwick would also

demonstrate and sell PFAS-containing products, including firefighting foam, to

others—both in his role as a fire chief and in his parallel career as a salesman of fire-

fighting products. Id., PageID#5424-25.

      Hardwick does not know what, if anything, the trace amounts of the five PFAS

in his blood have allegedly done to him. He has no disease or condition attributed

to his PFAS exposures. Id., PageID#5439-40. He offered no allegations or evidence

that any doctor or expert has recommended monitoring or found him to be at an

increased risk of disease due to his PFAS exposures. He is suing simply because he


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“fears the unknown effects of [PFAS].” MTD Opp., R.94, PageID#523 (emphasis

added). Indeed, he has testified that he does not “know what [the PFAS in him] can

potentially do,” so he wants to “learn [his] personal risk” of injury (if any) by

“gather[ing] the information required to see what the risk is,” if there is any risk at

all. Hardwick Dep., R.200-6, PageID#5433-35.

      As this Court observed, Hardwick thus “actually has no idea about his risk of

future disease,” which is not surprising given that the “health effects of PFAS are

uncertain.” 3M, 2022 WL 4149090, at *1, *6. Unrebutted expert evidence also

shows that the toxicity (if any) of any given PFAS depends on myriad factors,

including the kind of PFAS; the level of PFAS; the path of exposure; the length of

exposure; and personal characteristics (e.g., age, gender, body mass, occupation,

diet, race, and behavior).     See Beck Rep., R.200-2, PageID#5173, 5180-87;

Herzstein Rep., R.200-3, PageID#5258-60.

      Yet, Hardwick has grouped all PFAS, and millions of individuals, together in

this lawsuit. “The crux of the suit here is about discerning the harm or risk of harm

from exposure to” various amounts of various PFAS. 3M, 2022 WL 4149090, at *2

n.1. That includes not just the five substances in Hardwick’s blood, but also any of

the 5,000 PFAS at practically any level in any of the 11-million-plus class members.




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      C.     Hardwick Seeks An Independent Science Panel To Study PFAS
             And Make Findings Binding On Nearly All Americans.

      The device by which Hardwick proposed to learn more about PFAS is a non-

opt-out federal class action that would include 99% of all Americans. His chosen

Defendants are ten of the countless companies that have something to do with PFAS.

See Compl., R.96, PageID#567 (listing the Defendants’ alleged conduct as

everything from selling PFAS to simply at some point handling them). Hardwick

asserts negligence and battery claims under Ohio law. Id., PageID#584-87.

      Hardwick’s requested relief is unprecedented. He asked for an “injunction”

creating “an independent panel of scientists,” called the “Science Panel,” which

would be “tasked with independently studying, evaluating, reviewing, identifying,

publishing, and notifying/informing the Class of Sufficient Results.”             Id.,

PageID#590-91 (emphasis added). The complaint defines “Sufficient Results” as

the Science Panel’s eventual findings on whether any kind of PFAS actually causes

“any injury” or risk of injury “sufficient to warrant any personal injury compensation

or future diagnostic medical testing” (i.e., medical monitoring). Id., PageID#577,

579. Hardwick asked that Defendants be ordered to fund this Science Panel, at

enormous expense, and that the Panel’s findings “be deemed definitive and binding

on all the parties.” Id., PageID#591; see 3M, 2022 WL 4149090, at *5 n.3.

      Hardwick purported to model this requested relief on the so-called “C-8

Science Panel.” But that Panel was not the product of an injunction awarded over


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defense objections; it was contractually negotiated by one company as part of a

settlement of a West Virginia state-court opt-out class-action almost 20 years ago.

That settlement-based panel examined the potential health effects of one type of

PFAS (PFOA, sometimes called “C-8”) on a class of 67,000 individuals, all of whom

lived near a facility that manufactured PFOA-containing products and potentially

had exposures to that substance.2 Using a negotiated “probable link” standard with

a lower threshold than legal or scientific causation, the settlement-based panel found

some “probable links” between six health conditions and PFOA exposure, but found

no links to many other conditions. 3 Thus, unlike the Science Panel requested here,

that “C-8 Panel” arose purely from a settlement, and it related to a single PFAS in a

single community allegedly attributable to a single company that entered into the

settlement.

      Many other efforts to study and address PFAS are already underway.

Numerous private researchers and government agencies, as well as Congress, are

investigating potential links between various PFAS and various health endpoints in




      2
         Alexander Rep., R.200-1, PageID#4992-93, 5024-25; C8 Science Panel,
Home,      http://www.c8sciencepanel.org/;  C8    Science   Panel,   Home,
http://www.c8sciencepanel.org/panel_background.html.
       3
         Alexander Rep., R.200-1, PageID#4992-93; C8 Science Panel, Home,
http://www.c8sciencepanel.org/.

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different populations and localities.4 And various federal and state regulators are

pursuing action plans to address certain kinds of PFAS.5

      D.     The District Court Permits Hardwick’s Lawsuit To Go Forward.

      Defendants moved to dismiss this lawsuit on numerous grounds, but the

district court rejected them all. See generally Hardwick v. 3M Co., 2019 WL

4757134 (S.D. Ohio Sept. 30, 2019); Order, R.128, PageID#835-69.

      Most relevant here, in a decision that this Court has called “questionable,” the

district court rejected Defendants’ argument that Hardwick lacked Article III

standing. 3M, 2022 WL 4149090, at *10. The district court incorrectly construed

one of this Court’s decisions as binding on standing when, in fact, the decision

“never resolved (or even discussed)” the question of Article III injury. Id. at *4

(citing Hirsch v. CSX Transp., Inc., 656 F.3d 359 (6th Cir. 2011)). And the district

court mistakenly thought that the effort to plead a battery claim under Ohio law

necessarily established injury in fact under Article III, and mistakenly conflated the




      4
          Alexander Rep., R.200-1, PageID#5000-01; Congressional Research
Service, PFAS and Drinking Water: Selected EPA and Congressional Actions,
https://sgp.fas.org/crs/misc/R45793.pdf
       5
           See EPA, EPA PFAS Action Plan: Program Update (Feb. 2020),
https://www.epa.gov/sites/production/files/2020-01/documents/pfas_action_plan_
feb2020.pdf; Ohio EPA & Ohio Dep’t of Health, Ohio Per- and Polyfluoroalkyl
Substances (PFAS) Action Plan for Drinking Water (Dec. 2019), https://
epa.ohio.gov/Portals/28/documents/pfas/PFASActionPlan.pdf

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injury needed for retrospective relief with the injury needed for prospective relief.

Id. at *5-6 (citing City of Los Angeles v. Lyons, 461 U.S. 95, 105 (1983)).

      E.     Plaintiff Seeks A 330 Million-Person Class Of Essentially Everyone
             With Every Kind Of PFAS At Impossible-To-Detect Levels.
      After the pleading stage, Hardwick moved for class certification, proposing

an ambitious class:

      [A]ny individual residing within the United States at the time of class
      certification for one year or more since 1977 with 0.05 parts per trillion (ppt)
      or more of PFOA and at least 0.05 ppt or more of any other PFAS in their
      blood serum.

Class-Cert. Motion, R.164, PageID#1481, 1546. The proposed class would include

over 330 million individuals, nearly the entire American population. See id.,

PageID#1530 n.10. Hardwick asked the district court to certify the class on a no-

opt-out basis under Rule 23(b)(2). Id., PageID#1481. Notably, Hardwick did not

offer any evidence or expert support for the assumed and unexplained propositions

behind his class definition—including that 0.05 parts per trillion of each PFAS in

blood is detectable and that such a level would be meaningful if it were detectable.

See Herzstein Rep., R.200-3, PageID#5267-68; Wait Rep., R.200-5, PageID#5349.

      Defendants opposed certification under Article III and Rule 23. Class-Cert.

Opp., R.200, PageID#4777-4803.




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      F.       The District Court Certifies A Class, But This Court Grants
               Interlocutory Review.

      The district court certified under Rule 23(b)(2) a class of everyone subject to

Ohio law who meets class counsel’s 0.05 parts per trillion PFAS blood-concentration

thresholds.     See Order, R.233, PageID#6663, 6697.         By the district court’s

estimation, the class consists of over 11 million people. See id., PageID#6666. The

court further expressed an intent to expand the class to every person in every state

that permits asymptomatic medical-monitoring claims, placing the burden of

limiting this expansion on Defendants. Id., PageID#6697.

      Defendants petitioned this Court for interlocutory review under Rule 23(f),

and a panel of this Court granted the petition. 3M, 2022 WL 4149090 (Guy, Donald,

Bush, JJ.). The Court held that Defendants “would likely succeed on appeal” on at

least three issues:    (1) Hardwick’s lack of standing; (2) the absence of class

commonality and cohesion; and (3) the failure to specify the requested relief. “This

cosmic class,” the motions panel concluded, rests on “a questionable theory of

standing and a refusal to apply a cohesion requirement endorsed by seven courts of

appeals,” along with “an ill-defined remedy that sits uneasily with traditional

constraints on the equity power and threatens massive liability.” Id. at *10. The

class thus deserved a fresh look by a merits panel. Id.

                        SUMMARY OF THE ARGUMENT
      This Court’s fresh look should result in reversal.


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      I.     The lone Plaintiff, Hardwick, lacks standing. He wants prospective

relief only, but he has no evidence of a “certainly impending” threatened injury that

would give a federal court the authority to grant prospective relief. Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 409 (2013). Rather, Hardwick does not “know

what these chemicals can potentially do,” Hardwick Dep., R.200-6, PageID#5434-

35, and he only wants to learn about their “unknown effects,” MTD Opp., R.94,

PageID#523. But a desire to learn if one is injured is not an injury in fact. And even

if it were, Hardwick still would not have standing because he does not trace any

alleged injury to any Defendant, and the requested Science Panel and possible

medical monitoring would do nothing to actually redress any alleged injury. See

3M, 2022 WL 4149090, at *5.

      II.    In any event, Rule 23(b)(2) does not permit the class certified by the

district court. To satisfy that rule, a plaintiff “must illustrate a viable injunctive

remedy that could grant relief to the entire class in a single stroke.” 3M, 2022 WL

4149090, at *5 n.3. But the “injunction” sought by Hardwick could not grant

uniform relief to over 11 million members all at once. Nor is it even a viable

injunctive remedy in the first place.

      A. This class fails the cohesion requirement of Rule 23(b)(2), a requirement

at least as rigorous as the common-issue predominance requirement of Rule

23(b)(3). The class claims are not susceptible to common proof because all the key


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liability and relief questions turn on facts about each individual class member’s

PFAS exposures (type, amount, source, duration, etc.) and other individual

circumstances (age, gender, weight, health conditions, genetic predispositions,

habits, etc.). The bevy of individual factors prevents even the commonality required

by Rule 23(a)(2)—and certainly precludes a finding of cohesion.

      B. This class also cannot be certified under Rule 23(b)(2) because the

requested relief is not viable injunctive relief. At bottom, Hardwick seeks money

from Defendants to fund his desired “Science Panel.” The district court has no

authority to order that Defendant-funded “Science Panel,” possibly followed by

medical monitoring, under the guise of a (b)(2) “injunction.” That is especially true

when Hardwick’s requested “injunction” bears no resemblance to the traditional

equitable relief that federal courts can issue. See Grupo Mexicano de Desarrollo

S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 318 (1999).

      C. The class independently cannot be certified under Rule 23(b)(2) because

the requested injunctive relief is not adequately specified. Hardwick’s description

of the Science-Panel and medical-monitoring relief falls far short of the detail

required to satisfy Rule 23(b)(2) or Rule 65.

      III.    The class definition separately requires reversal because, as a practical

matter, class members cannot actually be identified. Implementing the definition

would require testing millions of people for PFAS blood-concentration levels that


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are impossible to detect. This defect requires reversal on grounds separate from

“ascertainability,” although the class fails that requirement too.

                                   ARGUMENT
      In a Rule 23(f) appeal, as in any appeal, this Court must first ensure, de novo,

“that subject matter jurisdiction exists,” Olden v. LaFarge Corp., 383 F.3d 495, 498

(6th Cir. 2004)—including “whether the class established its Article III standing,”

3M, 2022 WL 4149090, at *4. See Lynch v. Leis, 382 F.3d 642, 645 (6th Cir. 2004).

      If there is an actual Case or Controversy, the Court “give[s] fresh review to

any legal interpretations of Civil Rule 23” and “abuse-of-discretion review to the

district court’s ultimate judgment whether to certify a class.” Tarrify Props., LLC v.

Cuyahoga County, 37 F.4th 1101, 1106 (6th Cir. 2022). An abuse of discretion

occurs, necessarily, “when the district court relies on erroneous findings of fact,

applies the wrong legal standard, misapplies the correct legal standard when

reaching a conclusion, or makes a clear error of judgment.” Reeb v. Ohio Dep’t of

Rehab. & Corr., 435 F.3d 639, 644 (6th Cir. 2006).

      Under Rule 23, class certification is the exception, not the rule. See Wal-Mart

Stores, Inc. v. Dukes, 564 U.S. 338, 348 (2011). The plaintiff bears the burden of

showing that the exception applies, In re Am. Med. Sys., Inc., 75 F.3d 1069, 1086

(6th Cir. 1996), and must provide evidence meeting Rule 23’s requirements because

the Rule “does not set forth a mere pleading standard,” Dukes, 564 U.S. at 350.



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I.    THE DISTRICT COURT LACKED JURISDICTION OVER THIS
      ACTION.

      As in any federal action, a class action may not proceed unless the plaintiff

has satisfied all three requirements of Article III—injury in fact, traceability, and

redressability. Frank v. Gaos, 139 S. Ct. 1041, 1046 (2019); 3M, 2022 WL 4149090,

at *4. Hardwick satisfies none of them, requiring dismissal.

      A.     Hardwick Has Experienced No Injury In Fact.

      The “‘first and foremost’ of standing’s three elements” is “injury in fact.”

Spokeo, Inc. v. Robins, 578 U.S. 330, 338-39 (2016). A plaintiff must have suffered

an “injury,” which must be “concrete, particularized, and actual or imminent.”

TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021). This means that the

claimed grievance may not be “abstract,” “generalized,” “conjectural or

hypothetical.” Spokeo, 578 U.S. at 340; Lujan v. Defs. of Wildlife, 504 U.S. 555,

575-76 (1992).

      The asserted injury also must correspond to the kind of relief sought.

Hearring v. Sliwowski, 806 F.3d 864, 868 (6th Cir. 2015); see TransUnion, 141 S.

Ct. at 2208. “To establish standing for a forward-looking injunction”—the only kind

of relief Hardwick claims to seek here—the plaintiff must show a “likelihood of

substantial and immediate irreparable injury.” Hearring, 806 F.3d at 868; see Lyons,

461 U.S. at 103. “[P]ast wrongs” alone thus do not provide standing to obtain

injunctive relief. Lyons, 461 U.S. at 103; see, e.g., O’Shea v. Littleton, 414 U.S. 488,


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495-96 (1974). Instead, for prospective relief, the plaintiff must show a “certainly

impending” future injury that is either ongoing or new. Clapper, 568 U.S. at 409.

      The nature of plaintiffs’ burden to demonstrate this concrete, certainly

impending injury depends on the stage of the case. When a case moves past the

pleading stage, as this case has, plaintiffs cannot merely allege a qualifying injury if

the defendant disputes it. They must offer “evidentiary proof” for the purported

injury. Lyngaas v. Ag, 992 F.3d 412, 428 (6th Cir. 2021); see also Lujan, 504 U.S.

at 561; 3M, 2022 WL 4149090, at *6 (citing cases).

      Hardwick has not established any qualifying injury here. Far from showing a

certainly impending injury with evidentiary proof, the “whole reason” Hardwick

brought this action is to determine “whether he has an elevated risk of disease” that

might qualify as an Article III injury. 3M, 2022 WL 4149090, at *6. He sues to find

out if he is injured, with “his lack of such proof [being] the point of his lawsuit.” Id.

      Hardwick’s complaint made that clear. He alleged that he wants a “Science

Panel” to study PFAS because he is “concerned and fearful of the effects of having

PFAS in [his] blood.” Compl., R.96, PageID#579, 590; see also MTD Opp., R.94,

PageID#523 (Hardwick “fear[s] the unknown effects of … PFAS”). But he admitted

he is unsure “what [those] effects will and/or are reasonably likely and/or probable

to do.” Compl., R.96, PageID#579. Hardwick cannot walk away from these injury-

disclaiming allegations, which are “judicial admissions” and “conclusively


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binding.” Barnes v. Owens-Corning Fiberglas Corp., 201 F.3d 815, 829 (6th Cir.

2000).

      But Hardwick does not walk away; the record confirms what those allegations

reflect: Hardwick has no Article III injury to support injunctive relief. See Lyngaas,

992 F.3d at 428; Lujan, 504 U.S. at 561. He submitted no evidence, via experts or

otherwise, in support of any particularized injury. To the contrary, he testified that

he does not “know what [PFAS] can potentially do” to him, and that he wants to

“learn [his] personal risk” of injury. Hardwick Dep., R.200-6, PageID#5434-35.

The goal of his suit is thus “to gather the information required to see what the risk

is.” Id., PageID#5433-34. He hopes to “determine what the effects [of PFAS] are

on [his] body.” Id. He wants, at bottom, “knowledge” and “[no]thing else” “from

this lawsuit.” Id., PageID#5435. Hardwick’s aim, then, is to discover whether he

has been injured.

      That aim, however, cannot be pursued in an Article III court. A desire to learn

whether one has an injury is not an injury in fact. See Shelby Advocates for Valid

Elections v. Hargett, 947 F.3d 977, 981 (6th Cir. 2020). One must instead come to

court alleging (and then proving) a real, existing injury—or when seeking

prospective relief, as Hardwick does here, a substantial threat of imminent and real

future injury. Hardwick has not done so.




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      What Hardwick has is, at most, an unknown “possible future injury,” which

is “not sufficient” under binding precedent. Clapper, 568 U.S. at 409; see also id.

at 410-14 (even an “objectively reasonable likelihood” of a “potential future” injury

not enough); Yeager v. Gen. Motors Corp., 265 F.3d 389, 395 (6th Cir. 2001)

(“potential future injury” “too speculative”).

      Given these obstacles, Hardwick has at times tried to reframe his injury as the

“unwanted presence of PFAS in his blood.” Class-Cert. Mot., R.210, PageID#6358;

MTD Opp., R.94, PageID#514-15 (injury is “invasion” of PFAS); see also 3M, 2022

WL 4149090, at *4 (Hardwick “fail[ed] to clarify” his theory of injury). The district

court did not endorse that claimed injury when certifying the class. Order, R.233,

PageID#6675. And for good reasons: any such injury (1) could not support

prospective injunctive relief, and (2) is not injury in fact anyway.

      First, even if “mere presence” of a substance unknown to cause injury were

injury in fact, it would not be injury capable of supporting the only relief Hardwick

seeks here:    prospective injunctive relief.      Hardwick has confirmed that this

purported injury (the mere presence of PFAS in his blood) “has already occurred.”

MTD Opp., R.94, PageID#515. Such an alleged “[p]ast injury” is “inadequate to

constitute an injury in fact when,” as here, “the plaintiff seeks injunctive relief.”

Crawford v. United States Dep’t of Treasury, 868 F.3d 438, 455 (6th Cir. 2017)

(quoting Lyons, 461 U.S. at 102). This Court confirmed as much recently in Davis


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v. Colerain Twp., 51 F.4th 164 (6th Cir. 2022), when it held that a plaintiff resting

on a “past injury” “may not seek a forward-looking remedy.” Id. at 171. Therefore,

even if Hardwick’s alternative, asserted injury could qualify as an injury in fact

sufficient for retroactive relief (which it could not for the reasons explained below),

it would not be an injury sufficient for the prospective relief he demands here. See

Lyons, 461 U.S. at 102-05. For that kind of relief, Hardwick would need evidence

of a certainly impending future injury—which (again) is contrary to his whole theory

of the case.

      Second, the mere unwanted presence of a substance in the body—even if

alleged to be “unhealthy … in any amount”—is not an Article III injury in fact even

for retrospective relief. E.g., Young v. Johnson & Johnson, 2012 WL 1372286, at

*3 (D.N.J. Apr. 19, 2012). Presence alone, even of probable human carcinogens

(which Hardwick has not shown for any, let alone all, PFAS), is simply “too

attenuated and not sufficiently imminent to confer Article III standing.” Herrington

v. Johnson & Johnson, 2010 WL 3448531, at *3 (N.D. Cal. Sept. 1, 2010). Courts

thus regularly dismiss cases tied to such “mere exposure” or “mere presence”

theories. See id.; see also, e.g., Owner-Operator Indep. Drivers Ass’n, Inc. v. U.S.

Dep’t of Transp., 879 F.3d 339, 347 (D.C. Cir. 2018) (“unharmed mere existence”

theory not “injury in fact”); Koronthaly v. L’Oreal USA, Inc., 374 F. App’x 257, 259




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(3d Cir. 2010) (exposure to lead in lipstick, without adverse health effects, does not

confer Article III standing).

      Analogizing this “mere presence” theory of injury to common-law battery

does not save Hardwick’s lawsuit. See Class-Cert. Reply, R.210, PageID#6323,

6358 (noting battery claim).        The defining element of battery is “harmful or

offensive” contact, Love v. City of Port Clinton, 524 N.E.2d 166, 167 (Ohio 1988),

and Hardwick has offered no evidence of that. He has disclaimed knowing whether

the mere presence of PFAS in his blood is “harmful.” Supra at pp. 20–21. And he

offers nothing to show that such presence is “offensive to a reasonable sense of

personal dignity” under “the social usages prevalent at the time and place.” Love,

524 N.E.2d at 167.

      Indeed, it has long been true that people inhale or ingest trace amounts of all

sorts of substances released into the environment by others. To allow standing based

on a battery theory equally applicable to virtually everyone would cast aside the

“history and tradition” that must “guide” the “types of cases that Article III

empowers federal courts to consider.” TransUnion, 141 S. Ct. at 2204; see also id.

at 2209-10 (no standing because injury did not track common law defamation).

      In sum, then, the “mere presence” of something not shown to be harmful in a

particularized way is not injury in fact, much less sufficient injury to support the

prospective injunctive relief that Hardwick seeks.


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       B.       Hardwick Does Not Establish Traceability.

       This case independently fails the second requirement of Article III:

traceability.    Even when a plaintiff proves injury in fact, a federal court has

jurisdiction only if that plaintiff also shows that the “injury was likely caused by the

defendant.” TransUnion, 141 S. Ct. at 2203. That is because federal courts do not

exist to treat injuries, but to resolve disputes. Hardwick’s purported injury thus must

be “fairly traceable to the challenged conduct” of Defendants. Spokeo, 136 S. Ct. at

1547. And Hardwick again cannot rely on mere allegations “at this stage,” but must

point to “‘evidentiary proof’ of ‘a causal connection between the injury and the

conduct complained of.’” 3M, 2022 WL 4149090, at *6 (quoting Lyngaas, 992 F.3d

at 428; Lujan, 504 U.S. at 560).

       Hardwick has not offered any such proof. To the contrary, Hardwick made

what this Court called a “particularly troubling” concession: He admitted that he

has “no idea” through which of the “litany of possible pathways” he was exposed to

PFAS.       3M, 2022 WL 4149090, at *6; see, e.g., Hardwick Dep., R.200-6,

PageID#5418-19. And Hardwick offered no expert or other evidence to fill the void.

This is a case, moreover, alleging potential exposures to “over 5,000 discrete

compounds” present somewhere in the environment—substances used “for decades”

in “scores of products by scores of manufacturers.” 3M, 2022 WL 4149090, at *6.




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Thus, to say that the “line of causation” is “attenuated at best” is an understatement.

Allen v. Wright, 468 U.S. 737, 758 (1984).

      Even more, there is no basis in the record for connecting any line of causation

to any Defendant here. Hardwick’s alleged exposure may well be due to the

“independent role of third-party actors not before the court,” which itself precludes

traceability. United States v. Carroll, 667 F.3d 742, 745 (6th Cir. 2012). Hardwick’s

employer, neighbor, or some total stranger may have “released,” “handled,” or

“used” PFAS in a way that caused his alleged exposure. Compl., R.96, PageID#567,

588-89. Hardwick has “no idea.” Hardwick Dep., R.200-6, PageID#5418-19. He

thus “comes up short” on traceability. 3M, 2022 WL 4149090, at *6; see White v.

United States, 601 F.3d 545, 552 (6th Cir. 2010).

      C.     The Requested Relief Would Not Redress Hardwick’s Purported
             Injury.
      Even when a plaintiff has shown injury in fact and traceability, a federal court

has no authority to act unless it can “redress” the injury by legitimate “judicial

relief.” TransUnion, 141 S. Ct. at 2203. That redress must actually “remedy the

injury suffered.” Steel Co. v. Citizens for Better Env’t, 523 U.S. 83, 103 (1998). To

qualify as constitutional redress, then, the relief must “fix the problem at hand,”

Carroll, 667 F.3d at 745, and it must do so “direct[ly],” Linda R.S. v. Richard D.,

410 U.S. 614, 618 (1973).




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      Hardwick has failed to satisfy the redressability requirement for either of his

two asserted “injuries” (the desire to know whether PFAS might create a risk of

harm, and the mere presence of PFAS in his body).

      Take first Hardwick’s “concern[] and fear[]” about the “unknown” “effects”

of “PFAS in [his] blood.”        Compl., R.96, PageID#579; MTD Opp., R.94,

PageID#523; see also Hardwick Dep., R.200-6, PageID#5434 (“curiosity and fear”

concerning PFAS). No judicial relief can remedy that. “[F]ears of hypothetical

future harms” lie beyond the judicial bailiwick. Clapper, 568 U.S. at 416. Indeed,

even if Hardwick’s proposed Science Panel made findings that “direct[ly]” bore on

the five PFAS in him, Linda, 410 U.S. at 618, Hardwick would obtain only “psychic

satisfaction.” Steel Co., 523 U.S. at 103. But that feeling does not count as

constitutional redress. See id. A plaintiff cannot, in other words, sue to obtain only

“knowledge”—as Hardwick says he is doing. And Hardwick might not even obtain

the knowledge he seeks because the general Science Panel conclusions would almost

certainly leave Hardwick’s particular risks from the five PFAS in his blood

uncertain, which also negates redressability. See Simon v. E. Ky. Welfare Rights

Org., 426 U.S. 26, 43 (1976); Warth v. Seldin, 422 U.S. 490, 507 (1975).

      Plaintiff’s other injury theory, the unwanted presence of PFAS within him,

fares no better. As this Court already recognized, the most obvious “major issue”

with this theory is that neither the Science Panel nor any medical monitoring would


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do anything to change the presence of PFAS in Hardwick’s blood. 3M, 2022 WL

4149090, at *5-6. The requested relief would therefore not “fix the problem at

hand.” Carroll, 667 F.3d at 745. After the Science Panel completed its work, and

any hypothetical medical monitoring occurred, the “fate of” this claimed injury—

the presence of PFAS—“would [not] be different.” Kardules v. City of Columbus,

95 F.3d 1335, 1355 (6th Cir. 1996).

      Finally, under either injury theory (the fear of the unknown or the presence of

PFAS), redressability is absent for yet another reason. A federal court would have

no power, under Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527

U.S. 308, 318 (1999), to issue the far-from-“traditional” equitable relief that

Hardwick requests. See infra Part II.B. The remedy Hardwick seeks is thus

“unavailable,” id. at 333, and accordingly cannot provide the constitutionally

required redress. See TransUnion, 141 S. Ct. at 2203.

                                  *      *      *

      It is time to end Hardwick’s attempts to bypass federal and state regulators

and public-health authorities through a research project masquerading as a Case or

Controversy. Hardwick may be dissatisfied with the existing and ongoing PFAS

research and regulation. But that is no basis for a federal court to intervene. “The

federal courts are not free-range problem solvers,” Hearring, 806 F.3d at 868, and

“a class action is not intended to be an easy way around research problems,” Rowe


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v. E.I. duPont de Nemours & Co., 2008 WL 5412912, at *14 (D.N.J. Dec. 23, 2008).

Hardwick cannot maintain this action without injury in fact, traceable to particular

defendants, and redressable by a favorable court judgment—all of which are lacking

here. This Court should order dismissal for lack of jurisdiction.

II.   RULE 23(B)(2) DOES NOT PERMIT THE CLASS CERTIFIED BY
      THE DISTRICT COURT.

      The district court also wrongly certified this suit to proceed as a class action.

Since at least the Supreme Court’s decision in Amchem Prods., Inc. v. Windsor, 521

U.S. 591, 625-27 (1997), courts have routinely denied class certification for

personal-injury and medical-monitoring claims under Rule 23(b)(3) because there

are no common answers to purportedly common questions, or because common

questions do not predominate. See, e.g., Ball v. Union Carbide Corp., 385 F.3d 713,

727-28 (6th Cir. 2004); In re Am. Med. Sys., Inc., 75 F.3d 1069, 1084-86 (6th Cir.

1996); In re St. Jude Med., Inc., 425 F.3d 1116, 1121-23 (8th Cir. 2005).

      Hardwick attempts to evade that settled, sensible authority. He seeks an

“injunction” in order to pursue class certification under Rule 23(b)(2), which he

claims, incorrectly, is less demanding than Rule 23(b)(3). And he frames his

requested relief at a stratospheric level of generality—an order directing Defendants

to pay for a novel panel of experts to make unspecified findings in unspecified ways

that could somehow lead to undefined medical-monitoring relief—in order to create

the illusion of common issues.       But that illusion cannot withstand scrutiny.

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Hardwick’s vague description of the “injunction”—which violates (b)(2)’s

specificity requirement—obscures the reality that he is seeking intensely

individualized relief and that no central question in this case has a common,

classwide answer. By blessing Hardwick’s maneuvers and certifying an 11-million-

person-plus non-opt-out class under Rule 23(b)(2), the district court erred.

      As this Court recognized in its Rule 23(f) order, Rule 23(b)(2) imposes

demanding requirements. 3M, 2022 WL 4149090, at *7-9. A class may be certified

under (b)(2) only when the plaintiff proves that the class satisfies the requirements

of Rule 23(a) and, additionally, defendants have “acted or refused to act on grounds

that apply generally to the class, so that final injunctive relief or corresponding

declaratory relief is appropriate respecting the class as a whole,” Fed. R. Civ. P.

23(b)(2). The class here fails to satisfy these requirements in three principal ways.

(A) The class lacks the cohesion (and commonality) required. (B) The requested

relief is not appropriate injunctive relief. And (C) Hardwick has not provided the

necessary details regarding his requested relief. For all those reasons, the class

certification order cannot stand.

      A.     The Class Lacks The Required Cohesion.

      Rule 23(b)(2) requires a class to be as cohesive as, or more cohesive than, an

opt-out class under Rule 23(b)(3). Yet the district court ruled that (b)(2) imposed no

cohesion requirement at all, and thus subjected this massive, mandatory class only



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to the commonality requirement of Rule 23(a)(2). That was wrong. As the Rule

23(f) Order explained, Rule 23(b)(2) cohesion—beyond commonality—is a “well-

credentialed requirement” supported by rulings from six other Circuits and decisions

in this Circuit as well. 3M, 2022 WL 4149090, at *8. When the proper cohesion

requirement is applied (and even if only commonality were required), this class fails

because there are no common classwide answers and resolving the core issues here

requires far too many individualized determinations.

             1.    The District Court Applied The Wrong Legal Standard
                   Under Rule 23(b)(2), Which Demands A Heightened
                   Cohesion Showing.

      The district court erred by certifying a Rule 23(b)(2) class without requiring

any cohesion greater than commonality.         See 3M, 2022 WL 4149090, at *8

(recognizing that cohesion “represents an additional hurdle” beyond commonality).

A heightened cohesion requirement is “well-credentialed.” Id.

      This Court’s cases show that there is an independent (b)(2) cohesion

requirement. This Court has long recognized that mandatory classes “must be

carefully scrutinized and sparingly utilized,” In re Telectronics Pacing Sys., Inc.,

221 F.3d 870, 881 (6th Cir. 2000), because they lack key protections of a (b)(3) class

(such as notice and the opportunity to opt out), Coleman v. Gen. Motors Acceptance

Corp., 296 F.3d 443, 447-48 (6th Cir. 2002).         “[H]omogeneity” among class

members is thus a “defining characteristic”—the “very nature”—of a (b)(2) class.



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Reeb v. Ohio Dep’t of Rehab. & Corr., 435 F.3d 639, 649 (6th Cir. 2006); Coleman,

296 F.3d at 447-48. For a class to be certified under (b)(2), then, the class members’

claims must have few, if any, differences. Reeb, 435 F.3d at 649.

      Applying these principles, this Court has reversed class certification citing

“the well-recognized rule that Rule 23(b)(2) classes must be cohesive.” Romberio

v. UnumProvident Corp., 385 F. App’x 423, 433 (6th Cir. 2009).                “[W]here

individualized determinations are necessary,” Romberio held, “the homogeneity

needed to protect the interests of absent class members is lacking.” Id. at 432-33.

This Court thus rejected the argument, endorsed by the district court here, that “the

presence of individual issues is immaterial because Rule 23(b)(2), unlike Rule

23(b)(3), contains no predominance requirement.” Id. at 433. This Court explained,

on the contrary, that “cohesiveness, or homogeneity, is vital to Rule 23(b)(2) actions.”

Id. Understandably, then, district courts in this Circuit reviewing proposed (b)(2)

classes have demanded, in addition to commonality, cohesion. See, e.g., Creech v.

Emerson Elec. Co., 2019 WL 1723716, at *14 (S.D. Ohio Apr. 18, 2019).

      Courts around the country have also rejected non-cohesive classes certified

under Rule 23(b)(2). Indeed, every Circuit to address the question, save the Ninth,

has adopted a heightened cohesion requirement under Rule 23(b)(2). See Reid v.

Donelan, 17 F.4th 1, 11 (1st Cir. 2021); Barnes v. Am. Tobacco Co., 161 F.3d 127,

143 (3d Cir. 1998); M.D. ex rel. Stukenberg v. Perry, 675 F.3d 832, 838 (5th Cir.


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2012); Kartman v. State Farm Mut. Auto. Ins. Co., 634 F.3d 883, 893 n.8 (7th Cir.

2011); Ebert v. Gen. Mills, Inc., 823 F.3d 472, 480 (8th Cir. 2016); Shook v. Bd. of

Cnty. Comm’rs of Cnty. of El Paso, 543 F.3d 597, 604 (10th Cir. 2008) (Gorsuch,

J.); but see Senne v. Kan. City Royals Baseball Corp., 934 F.3d 918, 937 (9th Cir.

2019).

      These courts treat (b)(2) cohesion as at least as stringent as (b)(3)

predominance (which requires that common issues predominate over individual

ones)—and certainly more stringent than (a)(2) commonality. See, e.g., Shook, 543

F.3d at 604; Maldonado v. Oschner Clinic Found., 493 F.3d 521, 524 (5th Cir. 2007).

Indeed, several courts—including the Third Circuit in a case cited approvingly by

this Court in Romberio—hold that “a (b)(2) class may require more cohesiveness

than a (b)(3) class.” Barnes, 161 F.3d at 142 (emphasis added); see also Ebert, 823

F.3d at 480; Reid, 17 F.4th at 11.

      The district court erred in breaking from this authority and refusing to apply

any sort of cohesion requirement beyond (a)(2) commonality.          Order, R.233,

PageID#6704-06; see 3M, 2022 WL 4149090, at *8.

      The district court first adopted the Ninth Circuit’s view that a cohesion

requirement is atextual because “Rule 23(b)(2) never mentions ‘cohesiveness.’” Id.,

PageID#6706. But as then-Judge Gorsuch explained, cohesiveness is a “textually

authorized consideration” that follows directly from requirements “Rule 23(b)(2)


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imposes” “[b]y its terms.” Shook, 543 F.3d at 604. That Rule states that defendants

must have “acted or refused to act on grounds that apply generally to the class.” Fed.

R. Civ. P. 23(b)(2) (emphasis added). And an injunction must be “appropriate

respecting the class as a whole.” Id. (emphasis added). Those textual requirements

necessarily cannot be satisfied if individual issues could preclude injunctive relief

for some class members, or require different injunctive relief among class members.

A cohesion requirement beyond commonality, therefore, simply effectuates Rule

23(b)(2)’s plain terms, as many courts have held.

      In ruling otherwise, the district court also suggested that Supreme Court

precedent weighs against a Rule 23(b)(2) cohesion requirement. But the opposite is

true. Wal-Mart explained that, by requiring that a “class seek[] an indivisible

injunction benefiting all of its members at once,” Rule 23(b)(2) presupposes the

common-issue predominance and class-action superiority demanded by Rule

23(b)(3). 564 U.S. at 362-63; see also Gates v. Rohm & Haas Co., 655 F.3d 255,

264 (3d Cir. 2011) (noting that “Wal-Mart … highlighted the importance of

cohesiveness”).   Nor is there anything to the contrary in the district court’s

observation that Amchem—which pre-dated Wal-Mart—held that “the Rule 23(b)(3)

predominance inquiry tests whether proposed classes are sufficiently cohesive to

warrant adjudication by representation.” Amchem, 521 U.S. at 625-27. That holding

says nothing about the requirements of Rule 23(b)(2), which was not at issue in


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Amchem. And in fact, Amchem indicated that (b)(2) applies to a narrower set of

classes than (b)(3), which it held required cohesiveness. 521 U.S. at 614-15.

      The district court failed to account, too, for other considerations that also

support a demanding cohesion requirement. For example, Rule 23 “provides no

opportunity for … (b)(2) class members to opt out, and does not even oblige the

District Court to afford them notice of the action.” Wal-Mart, 564 U.S. at 361-62.

Given this no-notice, no-opt-out structure, “it would be unjust to bind absent class

members to a negative decision where the class representatives’ claims present

different individual issues than the claims of the absent members.” Romberio, 385

F. App’x at 433 (quoting Barnes, 161 F.3d at 143).

      In addition, requiring a high level of class cohesion for (b)(2) classes promotes

judicial economy. If common issues do not predominate, a suit “could become

unmanageable and little value would be gained in proceeding as a class action” given

the “significant individual issues” that could arise. Id. (quoting Barnes, 161 F.3d at

143); Shook, 543 F.3d at 604.

      A lax Rule 23(b)(2) standard, moreover, encourages efforts to manufacture

dubious claims for injunctive relief to evade the demands of Rule 23(b)(3)—a

dynamic well illustrated by this case. Just as Wal-Mart rejected an effort to use (b)(2)

to circumvent (b)(3), 564 U.S. at 360-67, this Court should reject Hardwick’s effort




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to lower the bar for (b)(2) certification to bypass (b)(3) requirements he cannot

satisfy. See Amchem, 521 U.S. at 625-27.

      Rule 23(b)(2), in short, contains a “well-credentialed” and “well-established”

cohesiveness requirement more demanding than commonality and at least on par

with the (b)(3) predominance requirement. 3M, 2022 WL 4149090, at *8; Romberio,

385 F. App’x at 433. The district court erred in holding otherwise.

            2.     The Class Fails To Satisfy Rule 23(a) Commonality, Let
                   Alone The Heightened 23(b)(2) Cohesion Standard.

      Under the correct Rule 23 standards, the class certification order must be

reversed. Hardwick’s class is anything but cohesive.

      This Court already expressed “serious concern” that this class does not satisfy

even the commonality requirement of Rule 23(a)(2). 3M, 2022 WL 4149090, at *7

(calling commonality “highly suspect”). And rightfully so. The common question

the district court identified—“whether exposure to PFAS is sufficiently harmful to

warrant medical monitoring”—cannot be answered commonly across the millions

of class members. Id.; see Wal-Mart, 564 U.S. at 352. As the unrebutted expert

submissions showed (and as this Court recognized), the answer would hinge on a

host of individualized inquiries—involving (to name a few) “the type, amount, and

timing of each of the millions of class members’ exposures, as well as his or her

background health risks related to age, gender, medical history, genetic

predispositions, and lifestyle choices.” 3M, 2022 WL 4149090, at *7.


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      That is enough to overturn the district court’s certification decision. No core

liability or relief question would generate a common answer across the class as a

whole. See Wal-Mart, 564 U.S. at 352; Ball, 385 F.3d at 727-28. And if the class

cannot satisfy commonality, it certainly cannot satisfy any cohesion requirement

beyond that. See, e.g., Am. Med. Sys., 75 F.3d at 1084-86; Wilson v. Brush Wellman,

Inc., 817 N.E.2d 59, 65-66 (Ohio 2004); Gates, 655 F.3d at 264-71; In re St. Jude

Med., Inc., 425 F.3d 1116, 1121-23 (8th Cir. 2005).

      Consider a few examples that confirm these points:

      Establishing injury. Ohio medical-monitoring claims, if cognizable at all,

require a “legally significant increased risk” of serious disease. Baker v. Chevron

U.S.A. Inc., 533 F. App’x 509, 526 (6th Cir. 2013). But whether any given class

member has such a risk from PFAS exposures is a highly individualized issue that

depends on multiple member-specific factors.

      First, it matters which of the 5,000 or so kinds of PFAS a class member was

exposed to. See Beck Rep., R.200-2, PageID#5147-48; 5159-70; Reitman Rep.,

R.200-4, PageID#5313, 5319-21. Different PFAS have different properties that

would affect whether a particular PFAS might be harmful, and, if so, at what level.

See Beck Rep., R.200-2, PageID#5157-58, 5180-88; Reitman Rep., R.200-4,

PageID#5314-18.




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      Second, risks for particular class members also would vary based on the

amount (and duration) of any PFAS exposure, as well as current PFAS blood levels.

Beck Rep., R.200-2, PageID#5149-50.          After all, even essential and benign

substances (such as salt) can be harmful at high enough levels, and even recognized

toxins (such as manganese) are innocuous at low enough levels. Beck Rep., R.200-

2, PageID#5149-50, 5159, 5173-80; Herzstein Rep., R.200-3, PageID#5267-68;

Alexander Rep. R.200-1, PageID#4990-91.           And the exposure levels vary

tremendously among the millions of class members. See Beck Rep., R.200-2,

PageID#5159-79.

      Third, individual demographic and health factors—which of course vary

immensely—are also key to any risk assessment. Age, gender, weight, genetic

predispositions, medical history, and existing health issues would all be essential

factors in determining whether any particular class member might face increased

health risks from any particular PFAS. See Beck Rep., R.200-2, PageID#5173-77;

5183-87; 5189; Herzstein Rep., R.200-3, PageID#5256-58; Alexander Rep. R.200-

1, PageID#4990-91.

      Even in cases alleging exposure to supposed toxic substances with far less

variation, these sorts of individualized issues have precluded certification—because

they prevent class cohesion. See, e.g., Amchem, 521 U.S. at 624 (no predominance

because “[c]lass members were exposed to different asbestos-containing products,


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for different amounts of time, in different ways, and over different periods” and had

different backgrounds); Rhodes v. E.I. du Pont de Nemours & Co., 253 F.R.D. 365,

374-80 (S.D.W. Va. 2008) (denying certification in a case involving only one type

of PFAS for precisely the reasons set out in the unrebutted expert reports here); Rowe,

2008 WL 5412912, at *9-22 (similar PFAS case); Palmer v. 3M Co., 2007 WL

1879844, slip op. at 18-20, 42-47 (Minn. Dist. Ct. Jun. 19, 2007). Indeed, in a

medical-monitoring case, this Court held there was no commonality or typicality

because “[e]ach individual’s claim was … proportional to his or her exposure to

toxic emissions or waste.” Ball, 385 F.3d at 728; accord, e.g., Wilson, 817 N.E.2d

at 65-66 (Ohio Supreme Court holding that an Ohio class seeking medical

monitoring for exposure to toxic substances failed for “lack of cohesiveness”). This

case calls for the same conclusion.

      Establishing causation. Another source of cohesion-destroying variation is

the need for individual inquiries into causation, an essential element of Hardwick’s

claims. Anderson v. St. Francis-St. George Hosp., Inc., 671 N.E.2d 225, 227 (Ohio

1996). No common evidence could link every class member’s allegedly increased

health risks to the conduct of any of the Defendants, let alone all of them.

      Millions of class members may have been exposed to two or more of

thousands of PFAS, in countless different ways, at different times and places, due to

countless different entities. See, e.g., supra at pp. 6–8. As a result, class members


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would have vastly different causation arguments and evidence depending on where,

when, and how they came into contact with PFAS. Id. The permutations are nearly

endless.   Id.; see, e.g., Beck Rep., R.200-2, PageID#5161-62. As this Court

explained, “even if one class member could ‘prove a risk of injury caused by a given

level of exposure to a certain type of PFAS linked to one defendant,’ it would say

‘nothing about another class member’s ability to prove risk of injury caused by a

different level of exposure to a different amount of a different PFAS linked to a

different Defendant.’” 3M, 2022 WL 4149090, at *7.

      These sorts of individual causation questions—even on a much smaller

scale—have frequently defeated class certification on commonality, predominance,

and cohesion grounds. See, e.g., Ball, 385 F.3d at 728; Am. Med. Sys., 75 F.3d at

1084-85 (“there is no common cause of injury” because “the products are different,

each plaintiff has a unique complaint, and each receives different information”); In

re Welding Fume Prod. Liab. Litig., 245 F.R.D. 279, 310-11 (N.D. Ohio 2007)

(similar); Palmer, 2007 WL 1879844, slip op. at 43-44 (similar in PFAS case). They

destroy commonality and cohesion here too.

      Establishing negligence. The negligence claim requires class-member- and

Defendant-specific reasonableness, foreseeability, and knowledge determinations.

See 1 CV Ohio Jury Instrs. 401.01, 401.07. Given the wide variety of PFAS-

containing products used over the last 70 years, the many different entities associated


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with their production, sale, and use, and the different paths of exposure, those

determinations would require individual inquiries that would be truly overwhelming.

See Reitman Rep., R.200-4, PageID#5314-23. Similar product and use variations

have led this Court and others to reject certification of negligence claims. See, e.g.,

Am. Med. Sys., 75 F.3d at 1074, 1084-85 (“products are different”); Welding Fume,

245 F.R.D. at 309-10 (“different welding products, warnings, employers, work

environments, and so on”).

      Establishing battery.     The battery claim, too, would be consumed by

individualized issues. See Anderson, 671 N.E.2d at 227 (battery elements). Whether

any particular class member’s exposure to PFAS satisfies the harmful-or-offensive-

touching requirement of a battery claim would depend on the type of PFAS, the

amount and nature of his or her exposure, and his or her health circumstances. See

Beck Rep., R.200-2, PageID#5153-54; 5163-71; Herzstein Rep., R.200-3,

PageID#5256-57; see also Rhodes v. E.I. du Pont de Nemours & Co., 636 F.3d 88,

95 (4th Cir. 2011) (rejecting battery claim based on asymptomatic PFOA exposure).

And proof of the required intentional touching would lead to Defendant-, time-, and

product-specific inquiries that would vary among class members with their bevy of

different exposure circumstances. See, e.g., Palmer, 2007 WL 1879844, slip op. at

45-46 (refusing to certify a class for PFAS battery claim).




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      Establishing affirmative defenses. Defendants also have several affirmative

defenses that would add to the individual issues that destroy any class cohesion. See

Sandusky Wellness Ctr., LLC v. ASD Specialty Healthcare, Inc., 863 F.3d 460, 470

(6th Cir. 2017) (defense defeated common-issue predominance). For example,

statute-of-limitations defenses hinge on the knowledge and exposure circumstances

of individual class members. See Barnes, 161 F.3d at 149; Wilson, 817 N.E.2d at

545. The same is true for comparative-negligence and assumption-of-risk defenses.

See Barnes, 161 F.3d at 146-49; In re Prempro, 230 F.R.D. 555, 567 (E.D. Ark.

2005). And the government-contractor defense depends, in part, on the kind of

PFAS product that led to a class member’s exposure. See Boyle v. United Techs.

Corp., 487 U.S. 500 (1988).

      Establishing class membership. Even the fundamental prerequisite of being

a class member could not be established with uniform evidence. Class members are

those with the required infinitesimal PFAS blood levels who are “subject to the laws

of Ohio.” Order, R.233, PageID#6663. But determining whether someone is

“subject to Ohio law” would be a highly individualized inquiry. A court would have

to “thoroughly analyze[]” multiple “specific factors” and the “interests of the

[various] states involved” to “mak[e] an equitable choice-of-law determination” for

each class member—a “perplex[ing]” determination even for a single plaintiff.

Morgan v. Biro Mfg. Co., 474 N.E.2d 286, 288 (Ohio 1984).


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      Consider Hardwick himself. He claims he was exposed to PFAS through

firefighting foam where he worked—in Kentucky. That would create a presumption

that Kentucky law applies. See id. at 289. A court would then have to consider

whether some other state has “a more significant relationship to the lawsuit”—using

some eleven factors. Id. at 289 & n.6. The need for such multifactorial, individual

choice-of-law determinations destroys cohesion. See Pilgrim v. Universal Health

Card, LLC, 660 F.3d 943, 946-49 (6th Cir. 2011) (rejecting a class because of these

kinds of individualized Ohio choice-of-law principles).

                                   *      *      *

      In short, virtually everything about the class claims is individualized in a way

that thoroughly precludes class certification.         On (a)(2) commonality or

(b)(2) cohesion grounds, therefore, the order certifying the class should be reversed.

      B.     Hardwick Does Not Seek Injunctive Relief That A Federal Court
             Could Award.

      The class certification order also should be overturned because Hardwick does

not seek a “viable injunctive remedy,” as required for Rule 23(b)(2) certification.

3M, 2022 WL 4149090, at *5 n.3. The request that Defendants pay for a Science

Panel and medical monitoring is not proper “injunctive relief,” Fed. R. Civ. P.

23(b)(2), because it is neither “injunctive” in nature nor within a federal court’s

equitable authority to award.




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      First, as this Court has already observed, Hardwick’s request that “defendants

fund, at substantial expense, both a science panel and potential medical monitoring”

is “probably more analogous to a damages action than to traditional equitable relief.”

3M, 2022 WL 4149090, at *5 n.3. Ordinarily, injunctions are orders to take action

or refrain from taking action, not orders to pay. See Pac. Reinsurance Mgmt. Corp.

v. Fabe, 929 F.2d 1215, 1218 (7th Cir. 1991). But Hardwick is not asking the district

court to order Defendants to do anything except pay for unspecified studies and

monitoring. Compl., R.96, PageID#590-91.

      Yet Hardwick seeks certification only under Rule 23(b)(2), which is reserved

for injunctive, not damages, cases. To the extent medical-monitoring relief can

sometimes be injunctive, see Zinser v. Accufix Rsch. Inst., Inc., 253 F.3d 1180, 1196

(9th Cir. 2001) (noting a split on this issue), Hardwick’s proposed relief is not

because all he ultimately wants from Defendants is funding for his novel Science

Panel. See, e.g., Gates, 655 F.3d at 262-63; Zinser, 253 F.3d at 1195-96; Wilson,

817 N.E.2d at 63-65.

      Second, even if Hardwick did seek relief that could be “injunctive,” the district

court would have no authority to issue that injunction: An injunction ordering the

requested Science Panel and medical monitoring is not among the traditional kinds

of equitable relief that Congress authorized federal courts to award.




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      As the Rule 23(f) Order explained—relying on Grupo Mexicano de

Desarrollo S.A. v. All. Bond Fund, 527 U.S. 308 (1999)—“the federal equity power

‘is an authority to administer in equity suits the principles of the system of judicial

remedies which had been devised and was being administered by the English Court

of Chancery at the time of the separation of the two countries.’” 3M, 2022 WL

4149090, at *5 n.3. Accordingly, “district courts purporting to issue equitable

remedies under the federal equity power are constrained to those remedies

‘traditionally accorded by courts of equity.’” Id. It does not matter if a requested

“injunction” may appear sensible or if modern circumstances might make it wise in

the mind of the judge. Grupo Mexicano, 527 U.S. at 322, 329-32. If the relief could

not have been awarded traditionally, it cannot be awarded now. Id.; see also, e.g.,

Wheeling-Pittsburgh Steel Corp. v. Mitsui & Co., 221 F.3d 924, 927 (6th Cir. 2000)

(declining request “to enjoin the import of foreign goods into the United States”

because there was no “evidence to suggest that this type of relief was ‘traditionally

accorded by courts of equity’”).

      It would have been unheard of for courts in 1789 to award Hardwick’s

requested “injunction.” Medical monitoring is a modern innovation, first mentioned

in 1979 and first ordered in 1984. See George W.C. McCarter, Medical Sue-

Veillance: A History and Critique of the Medical Monitoring Remedy in Toxic Tort

Litigation, 45 Rutgers L. Rev. 227, 231-33 (1993). And as for science panels, there


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is no precedent for the sort of panel proposed here, and other different-in-kind types

of panels (e.g., non-binding or settlement-based) do not appear to have arisen until

the mid-1990s. See In re Silicone Gel Breast Implant Prod. Liab. Litig., 1996 WL

34401813, at *6 (N.D. Ala. May 31, 1996) (appointing Fed. R. Evid. 706 expert

panel).

      Neither the district court nor Hardwick disputed this history.           In fact,

Hardwick agreed that “it would have been unheard of for an English Chancery Court

hundreds of years ago to commission a science panel to make determinations about

the effects of PFAS blood contamination.” MTD Opp., R.94, PageID#530. That

concession should end this case. Federal courts may not invent “unheard of” relief

under the guise of an “injunction.” See Grupo Mexicano, 527 U.S. at 319.

      Rather than addressing the relevant, historical test, the district court and

Hardwick invoked the principle that a court’s equitable powers are broad and

flexible. MTD Order, R.128, PageID#851-52; MTD Opp., R.94, PageID#529-31.

But Grupo Mexicano addressed—and rejected—that precise argument.                  Such

“flexibility is confined within the broad boundaries of traditional equitable relief.”

527 U.S. at 322. A plaintiff thus must point to a historical practice, which is entirely

missing here.

      This should lead to reversal. Because Hardwick cannot obtain “viable”

injunctive relief, he cannot obtain a Rule 23(b)(2) class. 3M, 2022 WL 4149090, at


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*5 n.3. The district court’s broad approach in its decision certifying this class

improperly enlarges Rule 23 and runs afoul of the Rules Enabling Act. See Ortiz v.

Fibreboard Corp., 527 U.S. 815, 845 (1999) (“[N]o reading of [Rule 23] can ignore

the [Rules Enabling] Act’s mandate that ‘rules of procedure shall not abridge,

enlarge or modify any substantive right.’”); Wal-Mart, 564 U.S. at 367

(“disapprov[ing]” a “novel project” for assessing liability and class recovery as

inconsistent with the Rules Enabling Act).

      C.     Hardwick Did Not Adequately Specify The Relief Requested Here.

      There is yet another reason why Rule 23(b)(2) certification was improper here:

Hardwick failed to provide the details about his requested relief needed to even allow

the district court to rigorously ensure that this class seeks “final injunctive relief”

that “is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2).

      As many decisions—including this Court’s Rule 23(f) order, 3M, 2022 WL

4149090, at *8—recognize, plaintiffs seeking certification under (b)(2) must set out

the contours of their requested injunction with specificity. See, e.g., Prantil v.

Arkema Inc., 986 F.3d 570, 580-81 (5th Cir. 2021); Kartman, 634 F.3d at 893;

Vallario v. Vandehey, 554 F.3d 1259, 1267-68 (10th Cir. 2009); cf. Reeb, 435 F.3d

at 644-45 (6th Cir. 2006) (vacating certification for “more precise information as to

the nature of [plaintiff’s] claims”).




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      Without a reasonably specific description of the injunctive relief sought, a

district court cannot determine either whether “injunctive relief … is appropriate

respecting the class as a whole,” Fed. R. Civ. P. 23(b)(2), or whether the injunction

would satisfy Rule 65(d). See 3M, 2022 WL 4149090, at *9. As then-Judge Gorsuch

summarized, “[a]t the class certification stage, the injunctive relief sought must be

described in reasonably particular detail such that the court can at least ‘conceive of

an injunction that would satisfy [Rule 65(d)’s] requirements,’ as well as the

requirements of Rule 23(b)(2).” Shook, 543 F.3d at 605.

      Of course, this rule “does not require that every jot and tittle of injunctive

relief be spelled out at the class certification stage.” Prantil, 986 F.3d at 581

(cleaned up). “[B]ut some reasonable detail as to the acts required is necessary.” Id.

“[F]ormulating an injunction at a stratospheric level of abstraction,” Shook, 543 F.3d

at 604, or “discuss[ing] injunctions [only] in their broad strokes,” Prantil, 986 F.3d

at 581, does not suffice.

      Yet that is all Hardwick did here—and all the district court required. Order,

R.233, PageID#6671. Hardwick argued, and the district court mistakenly agreed,

that he need not “describe the relief [he] seek[s] in any specific way,” because it is

enough “to merely request an ‘injunction’ ordering defendants to pay for a science

panel and medical monitoring for whomever the science panel determines necessary.”

3M, 2022 WL 4149090, at *8; see Class-Cert. Mot., R.164, PageID#1541 (asking


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the court “to order the creation and funding of a program to design, implement, and

administer appropriate medical and scientific studies, testing, and analysis for Mr.

Hardwick and all the potential class members”). Hardwick has thus left critical

questions entirely unanswered:

         • How would the Science Panel be established and managed?

         • Would it be bound by existing regulatory or other procedures for
           studying potential health effects of PFAS?

         • Which of the thousands of types of PFAS, or trillions of combinations
           thereof, would it study?

         • How would it measure exposures?

         • What diseases and illnesses would it study?

         • How would it conduct its studies?

         • At what stage of the litigation would it operate?

         • What evidentiary or proof standards would it use?

         • What kinds of findings would it reach?

         • To what extent would the findings be binding?

         • What would qualify class members for monitoring?

         • What illnesses or diseases would they be monitored for?

         • How would individual demographic or health considerations figure
           into any monitoring?

         • How would the monitoring be administered?



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       Hardwick “lack[s] in-circuit authority for the proposition that [he] can

permissibly define the[] requested ‘injunction at this stratospheric level of

abstraction.’” 3M, 2022 WL 4149090, at *8. And “significant authorities,” as well

as first principles, require more specificity. Id. Indeed, “difficulty in specifying

exactly what [a plaintiff] seek[s] from an injunction” often “highlights the fact that

individualized issues … overwhelm class cohesiveness.” Maldonado, 493 F.3d at

524; see supra at Section II.A.

       This Court should reverse, therefore, at a minimum because Hardwick’s

description of the requested medical monitoring does not sufficiently specify the

relief sought.

III.   THE CLASS DEFINITION MAKES THE CLASS UNCERTIFIABLE.

       Whatever else is true, this action cannot go forward with the class defined as

all “[i]ndividuals subject to the laws of Ohio, who have 0.05 parts per trillion (ppt)

of PFOA (C-8) and at least 0.05 ppt of any other PFAS in their blood serum.” Order,

R.233, PageID#6663. The problems with that class definition only begin with the

millions of individualized inquiries required to determine whether any given person

is “subject to Ohio law.” See supra at pp. 42–43.

       Even more fundamentally, the definition would be impossible to implement

and therefore class members could not be identified. Hardwick thus failed to carry

his acknowledged “burden to adequately define the proposed class,” Class-Cert.



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Mot., R.164, PageID#1528, because the definition fails an “essential prerequisite of

an action under Rule 23”: “that there must be a ‘class.’” 7A Fed. Prac. & Proc. Civ.

§ 1760 (4th ed., Westlaw Apr. 2022 update); see also Tarrify Props., 37 F.4th at

1106 (“putative class members [must] be readily identifi[able] based on the class

definition”).

      Testing obstacles. It is scientifically impossible to test for PFAS blood serum

concentrations as low as this class’s threshold: 0.05 parts per trillion. As Dr. Dallas

Wait (an expert analytical chemist) explained—with no rebuttal—this concentration

criterion is 2,000 times lower than detection limits currently achievable even by

commercial toxicological or forensics laboratories for any PFAS, much less all

PFAS. Wait Rep., R.200-5, PageID#5349-50. Even if testing to the class threshold

were scientifically possible, moreover, the process would be unmanageably daunting.

It would require large blood draws for over 11 million people. Id., PageID#5353.

And given the size of the class and the rigorous cleaning required for low detection

levels, it would take 100 labs about 16 years to complete the necessary testing. See

id. Extrapolating from the costs incurred by Hardwick’s counsel for the limited

testing of Hardwick’s blood (Hardwick Dep., R.200-6, PageID#5417-18), moreover,

testing over 11 million class members could potentially cost billions of dollars.

      Beyond that, there are serious questions about which PFAS would or could be

tested for. There is some ambiguity and disagreement over what substances the


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umbrella term “PFAS” includes. Reitman Rep., R.200-4, PageID#5314. And there

are no accepted or validated methods of testing for the “vast majority” of PFAS

compounds in blood serum. Wait Rep., R.200-5, PageID#5351. The CDC testing

methods, which are generally in line with the capabilities of commercial laboratories,

test for only 8 to 12 different PFAS (of the 5,000 Hardwick wants tested), and the

most inclusive methods published in recent scientific literature tested for only 43.

Id., PageID#5351-52.

      These testing obstacles make it impossible to identify the members of the

class—“[i]ndividuals subject to the laws of Ohio, who have 0.05 parts per trillion

(ppt) of PFOA (C-8) and at least 0.05 ppt of any other PFAS in their blood serum,”

Order, R.233, PageID#6663—which precludes class certification.

      Ascertainability. Hardwick has tried to sidestep these arguments by asserting

that “ascertainability” is not a requirement for a Rule 23(b)(2) class. But the

problems here go far beyond the class definition not being “administratively feasible.”

Young v. Nationwide Mut. Ins. Co., 693 F.3d 532, 538 (6th Cir. 2012). They go to

whether potential class members, Defendants, and the Court could even determine

who is actually in the non-opt-out class and thus bound by any judicial

determinations—to whether there is a “class” at all.

      In any event, “ascertainability” is implicit in Rule 23 generally, see Tarrify

Props., 37 F.4th at 1106, regardless of the particular subpart of Rule 23(b) under


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which the plaintiff moves. To be sure, Cole v. City of Memphis, 839 F.3d 530 (6th

Cir. 2016), declined to apply an ascertainability requirement to a (b)(2) class. But

Cole was a civil-rights case seeking a prohibitive injunction against a police practice

of clearing Beale Street in Memphis at a particular time of day. It was unnecessary

for the Court to identify putative class members, because the City of Memphis would

be required to stop the practice altogether, not merely as applied to certain

individuals.

      This case is of course different, not only in subject matter but in requested

relief. Cole, 839 F.3d at 542 (explaining that the “focus in a (b)(2) class is more

heavily placed on the nature of the remedy sought”). Hardwick seeks a mandatory

“injunction” that would establish a potential individualized entitlement to medical

monitoring only for people who satisfy the impossible-to-apply requirements of his

putative class definition. To effectuate this “injunction,” unlike the one in Cole, the

Court would need to identify putative class members. See, e.g., League of Women

Voters of N.C. v. N. Carolina, 769 F.3d 224, 236 (4th Cir. 2014) (explaining

differences between prohibitive and mandatory injunctions); Stanley v. Univ. of S.

Cal., 13 F.3d 1313, 1320 (9th Cir. 1994) (same). Knowing the identity of class

members also is crucial to understanding who would be bound by the proposed

Science Panel determinations. Yet Hardwick’s proposed class definition makes that

impossible.


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      In sum, Hardwick has failed to meet his burden of showing that the class

definition is adequate or ascertainable, which requires that class certification be

reversed.

                                 CONCLUSION
      The district court’s order certifying a class action under Rule 23(b)(2) should

be reversed and the case remanded with instructions that the case be dismissed for

lack of jurisdiction.   In the alternative, the Court should reverse the class-

certification order and remand for further proceedings.

December 21, 2022                            Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Fed R. App. P.

32(a)(7)(B) because it “contains no more than 13,000 words”—specifically, it

contains 12,085 words (excluding the parts of the brief exempted by Fed. R. App. P.

32(f) and Sixth Circuit Rule 32(b)(1)), as counted using the word-count function on

Microsoft Word 2016 software.

      This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

and the type-style requirements of Fed. R. App. P. 32(a)(6) because it has been

prepared in proportionally spaced typeface using Microsoft Word 2016, in Times

New Roman style, 14-point font.



December 21, 2022                                   /s/ Theodore M. Grossman

                                                    Theodore M. Grossman




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                           CERTIFICATE OF SERVICE

      I hereby certify that on December 21, 2022, I electronically filed the original

of this brief with the Clerk of the Court using the CM/ECF system. Notice of this

filing will be sent to all attorneys of record by operation of the Court’s electronic

filing system.



                                                     /s/ Theodore M. Grossman

                                                     Theodore M. Grossman




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                     ADDENDUM




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     DESIGNATION OF RELEVANT DISTRICT COURT DOCUMENTS

      Pursuant to Sixth Circuit Rule 30(g)(1), Appellants hereby designate the
following filings in the district court’s record as potentially relevant to the
disposition of this appeal:

Record
                      Description                 Date         Page ID #
Entry #
1       Complaint with Jury Demand                10/04/2018 1–33
67      Defendants’ Joint Motion to Dismiss       02/14/2019 254–255
67-1    Memorandum in Support of                  02/14/2019 256–293
        Defendants’ Joint Motion to Dismiss
89      Stipulation between Plaintiff Kevin
                                                  03/26/2019 448–450
        Hardwick and Defendant AGC Inc.
90      Notice of Voluntary Dismissal
                                                  03/26/2019 451–452
91-1      Order requiring Status Report
                                                  04/08/2019 455
          regarding Dyneon, L.L.C.
92        Plaintiff Kevin Hardwick’s Status
                                                  04/12/2019 456–458
          Report Regarding Defendant Dyneon,
          L.L.C.
94        Plaintiff’s Memorandum in Opposition
                                                  04/12/2019 498–559
          to Defendants’ Motions to Dismiss
95        Order granting Motion for Leave to
                                                  04/15/2019 560
          File First Amended Complaint
96        First Amended Complaint and Jury
                                                  04/16/2019 561–594
          Demand (the operative complaint)
105       Reply In Support of Defendants’ Joint   05/13/2019 613–663
          Motion to Dismiss
125       Order regarding Oral Argument           08/26/2019 806
126       Motion to Dismiss Oral Argument         09/03/2019 807–834
          Transcript
128       Order denying Defendants’ Motions to    09/30/2019 835–869
          Dismiss
136       Answer filed by Solvay Specialty        12/02/2019 917–953
          Polymers, USA, LLC
137       Answer filed by AGC Chemicals           12/02/2019 954–982
          Americas, Inc.


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138      Answer filed by 3M Company                 12/02/2019   983–1049
139      Answer filed by Daikin America, Inc.       12/02/2019   1050–1092
141      Answer filed by Arkema, Inc.               12/02/2019   1108–1166
142      Answer filed by Arkema France, S.A.        12/02/2019   1167–1225
143      Answer filed by E.I. du Pont de            12/02/2019   1226–1307
         Nemours and Company
144      Answer filed by the Chemours               12/02/2019 1308–1397
         Company
147      Rule 26(f) Report                          02/19/2020 1405–1412
150      Order granting Motion to Apply             03/02/2020 1419
         Defendants’ Motions to Dismiss to the
         Amended Complaint
156      Preliminary Pretrial Order                 04/30/2020 1429–1430
157      Opinion and Order regarding Class          06/16/2020 1432–1435
         Certification and Protective Order
161      Protective Order                           06/29/2020 1450–1475
164      Plaintiff’s Motion for Class               07/31/2020 1481–1548
         Certification
164-1–   Plaintiff’s Exhibits in Support of Class   07/31/2020 1549–4442
164-5,   Certification
165,
165-1–
165-6
166      Opinion and Order denying Motion to        08/03/2020 4443–4456
         Reconsider Denial of Motions to
         Dismiss for Lack of Personal
         Jurisdiction
178      Answer filed by Archroma                   08/24/2020 4505–4539
         Management LLC
187      Answer filed by Daikin Industries Ltd.     08/31/2020 4591–4632
200      Defendants’ Joint Opposition to            12/14/2020 4739–4984
         Plaintiff’s Motion for Class
         Certification
200-1    Expert Report of Dominik D.                12/14/2020 4985–5136
         Alexander
200-2    Expert Report of Barbara D. Beck           12/14/2020 5137–5244
200-3    Expert Report of Jessica Herzstein         12/14/2020 5245–5306


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200-4    Expert Report of Maureen T.F.             12/14/2020 5307–5340
         Reitman
200-5    Expert Report of A. Dallas Wait           12/14/2020 5341–5398
200-6    Transcript of Plaintiff Kevin             12/14/2020 5399–5513
         Hardwick’s Deposition
200-7–   Defendants’ Remaining Exhibits in         12/14/2020 5514–5624
200-20   Opposition to Class Certification
201      Sealed Defendants’ Joint Opposition to    12/14/2020 n/a
         Plaintiff’s Motion for Class
         Certification with sealed supporting
         exhibits
203      Order denying Motion for Leave to         12/29/2020 6263–6265
         Substitute Exhibit
206      Opinion and Order denying Petition for    02/17/2021 6273–6285
         Permission to Appeal
209      Order granting Motion to Defer            02/24/2021 Notation Order
         Personal Jurisdiction Discovery
210      Plaintiff’s Reply in Support of Motion    03/12/2021 6290–6369
         for Class Certification
214      Defendants’ Notice of Supplemental        05/07/2021 6376–6407
         Authority
216      Plaintiff’s Notice of Supplemental        07/16/2021 6411–6439
         Authority
217      Defendants’ Motion for Leave to File      07/28/2021 6440–6508
         Notice of Supplemental Authority
         regarding TransUnion LLC v. Ramirez,
         141 S. Ct. 2190 (2021)
218      Order granting Defendants’ Motion for     07/29/2021 6509
         Leave to File Notice of Supplemental
         Authority
221      Plaintiff’s Response in Opposition to     08/17/2021 6514–6522
         Defendants’ Notice of Supplemental
         Authority regarding TransUnion LLC
         v. Ramirez, 141 S. Ct. 2190 (2021)
229      Plaintiff’s Notice of Supplemental        12/20/2021 6556–6558
         Authority regarding Class Certification
230      Plaintiff’s Notice of Supplemental        12/30/2021 6568–6570
         Authority regarding Class Certification

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231     Defendants’ Response to Plaintiff’s       01/17/2022 6577–6581
        Notice of Supplemental Authority
        regarding Class Certification (R. 230)
232     Plaintiff’s Notice of Supplemental        02/28/2022 6657–6662
        Authority regarding Class Certification
233     Opinion and Order granting in part and    03/07/2022 6663–6711
        denying in part Plaintiff’s Motion for
        Class Certification
236     Order regarding possible expansion of     03/22/2022 6716
        the class
237     Order vacating the scheduling order       03/22/2022 6717
        because of Defendants’ Rule 23(f)
        appeal
244,    Sixth Circuit order, opinion, and         09/09/2022 6730–6754
244-1   judgment granting Rule 23(f) review
245     Notice of Appeal                          09/09/2022 Notation Order




                               Addendum-4
